Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 1 of 15 PageID# 917



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
____________________________________
                                     )
ANAS ELHADY, et al.,                 )
                                     )
      Plaintiffs,                    )
                                     )
v.                                   )  Case No. 1:16-cv-375
                                     )
CHRISTOPHER M. PIEHOTA, et al., )
                                     )
      Defendants.                    )
____________________________________)

               DEFENDANTS’ RESPONSE TO THE “DOE” PLAINTIFFS’
                    MOTION TO PROCEED ANONYMOUSLY

DANA J. BOENTE
United States Attorney

BENJAMIN C. MIZER
Principal Deputy Asst. Attorney General, Civil Division

ANTHONY J. COPPOLINO
Deputy Director, Federal Programs Branch

AMY POWELL
EMILY NEWTON
Trial Attorneys
U.S. Department of Justice, Civil Division
Federal Programs Branch
20 Massachusetts Ave, N.W.
Washington, D.C. 20001
Telephone: (202) 514-9836
Facsimile:    (202) 616-8460
Email:          amy.powell@usdoj.gov

R. JOSEPH SHER
Assistant United States Attorney
Office of the United States Attorney
2100 Jamieson Ave.,
Alexandria, VA. 22314
Telephone: (703) 299-3747
Fax:           (703) 299-3983
E-Mail:        joe.sher@usdoj.gov
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 2 of 15 PageID# 918



                                                          TABLE OF CONTENTS

TABLE OF CONTENTS .............................................................................................................. i
INTRODUCTION......................................................................................................................... 1
BACKGROUND ........................................................................................................................... 1
ARGUMENT ................................................................................................................................. 3
I.        Allowing Plaintiffs To Proceed Under Pseudonyms Is Permitted Only In
          Exceptional Circumstances .............................................................................................. 3
I.        The John Doe Plaintiffs Have Not Met Their Burden Of Demonstrating
          Exceptional Circumstances Justifying Their Use Of Pseudonyms In This
          Case .................................................................................................................................... 5
CONCLUSION ........................................................................................................................... 11




                                                                         i
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 3 of 15 PageID# 919



                                        INTRODUCTION

         Plaintiffs, Baby Doe 2 and John Does 1 to 4 have moved to proceed anonymously in this

case. Defendants do not oppose allowing Baby Doe 2 to proceed under a pseudonym. But John

Does 1 to 4 (the “John Doe Plaintiffs”) have not made the extraordinary showing required to

overcome the presumption of public proceedings. There is a general presumption that judicial

proceedings be open. See James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993). And while the

decision of whether to permit parties to proceed anonymously is committed to the Court’s

discretion, the Court “has an independent obligation to ensure that extraordinary circumstances

support such a request by balancing the party’s stated interest in anonymity against the public

interest in openness and any prejudice that anonymity would pose to the opposing party.”

Company DOE v. Public Citizen, 749 F.3d 246, 274 (4th Cir. 2014). The party requesting

anonymity bears the burden of proof to demonstrate that such relief is appropriate. CTH 1

Caregiver v. Owens, No. CA 8:11-2215-TMC, 2012 WL 2572044, at *3 (D.S.C. July 2, 2012).

The John Doe Plaintiffs have not made the extraordinary showing required to meet this burden.

                                         BACKGROUND

         John Does 1 to 4 and Baby Doe 2 1 are among the twenty-five Plaintiffs in this lawsuit who

allege that they have been placed in the Terrorist Screening Database (“TSDB”), which they refer

to as “the federal watch list.” 2 As a result of their alleged placement in the TSDB, they claim that

they are subject to additional screening or inspection by the Transportation Security

Administration (“TSA”) and United States Customs and Border Protection (“CBP”), including


1
  “Baby Doe 2” appears to be so designated because he is the second of two minors proceeding
under a pseudonym in a separate Bivens action brought by many of these same Plaintiffs against
individual federal officers. See Doe v. Piehota, No. 16-cv-373. A motion to dismiss is pending in
that matter.
2
    John Doe 4 also alleges that he is on the No Fly List. Am. Compl. ¶¶ 533-38.
                                                 1
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 4 of 15 PageID# 920



when they have attempted to leave and reenter the United States on commercial airplanes and at

land ports of entry. All of the Plaintiffs challenge their purported placement in the TSDB and the

adequacy of the Department of Homeland Security’s Travel Redress Inquiry Program (“DHS

TRIP”), which provides redress for travel-related difficulties, including delayed or denied

boarding.

          In particular, each Plaintiff alleges that he believes he is on the federal watchlist, that he

was not given notice of the “deprivation” or an opportunity to respond, that he “remains on the

federal watch list,” 3 that his “nomination to the federal watch list was made based solely upon a

hunch (based upon his race, ethnicity, national origin, religious affiliation, or First Amendment

protected activities),” and that his watchlist status is widely “disseminated” to public and private

entities. See, e.g., Am. Compl. ¶¶ 160-64, 169-72, 196-200, 214-18, 228-34, 244-49, 264-65. 4

          In their original Complaint in this case, Plaintiffs listed as Doe Plaintiffs only John Does 1

to 3. ECF No. 1 (Apr. 5, 2016). In their Memorandum of Law in Support of their Motion to

Dismiss Plaintiffs’ Complaint, Defendants argued that the Doe Plaintiffs should be dismissed

because they had appeared without leave of court and had not even attempted to make the

extraordinary showing required to proceed anonymously. ECF No. 13 at 13-14 (Sept. 2, 2016).

Plaintiffs filed an Amended Complaint on September 23, 2016, adding Plaintiffs John Doe 4 and

Baby Doe 2, ECF No. 22. In their Memorandum in Support of their Motion to Dismiss Plaintiffs’

Amended Complaint (“Defendants’ Memorandum”), Defendants argued again that the Doe

Plaintiffs should be dismissed for failing to obtain leave of court or to make the requisite showing




3
    John Doe 2 does not include the allegation that he remains on a watchlist.
4
 A more detailed summary of the factual allegations of each Plaintiff, including each Doe Plaintiff,
can be found in Defendants’ motion to dismiss Plaintiffs’ Amended Complaint. See ECF No. 29
(Nov. 4, 2016).
                                                    2
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 5 of 15 PageID# 921



to proceed anonymously. ECF No. 29 (Nov. 4, 2016) (“Defs.’ Mem.”). On December 2, 2016,

Plaintiffs filed a motion for a protective order and to keep the names of the Doe Plaintiffs under

seal. ECF No. 32 (“Pls.’ Mot.”).

           As noted above, Defendants do not oppose allowing Baby Doe 2 to proceed under a

pseudonym, provided Plaintiffs reveal to Defendants under an appropriate protective order Baby

Doe 2’s identity at the earliest possible opportunity in order to allow Defendants to respond to the

claims on behalf of Baby Doe 2. The John Doe Plaintiffs, however, have not carried their burden

to show that exceptional circumstances justify allowing them to proceed under pseudonyms.

                                             ARGUMENT

      I.      ALLOWING PLAINTIFFS TO PROCEED UNDER PSEUDONYMS IS
              PERMITTED ONLY IN EXCEPTIONAL CIRCUMSTANCES.
           Courts have recognized a “general presumption of open trials[,] including identification of

parties and witnesses by their real names.” Jacobson, 6 F.3d at 242. Indeed, the Federal Rules of

Civil Procedure “do not provide for suits by persons using fictitious names or for anonymous

plaintiffs.” Id. Instead, they require that “[t]he title of the complaint must name all the parties.”

Fed. R. Civ. P. 10(a).

           “This rule embodies the presumption, firmly rooted in American law, of openness in

judicial proceedings.” Doe v. Merten, 219 F.R.D. 387, 390 (E.D. Va. 2004). Indeed, it “dates

back to the English common law and finds constitutional support in First Amendment protections

of freedom of speech and press.” Candidate No. 452207 v. CFA Inst., 42 F. Supp. 3d 804, 806

(E.D. Va. 2012) (citing Merten, 219 F.R.D. at 390). “Identifying the parties to judicial proceedings

is a vital component of the courts’ facilitation of public access to and public scrutiny of judicial

proceedings.” Id. (internal citations omitted). 5 Thus, the “general presumption of openness of


5
    Hereinafter, internal citations and quotations are omitted unless otherwise indicated.
                                                    3
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 6 of 15 PageID# 922



judicial proceedings applies to party anonymity as a limited form of closure.” Jacobson, 6 F.3d at

238. In short, “[t]he people have a right to know who is using their courts.” Candidate No. 452207,

42 F. Supp. 3d at 807.

       Proceeding by pseudonym is therefore a “rare dispensation.” Jacobson, 6 F.3d at 238; see

also Doe v. Pittsylvania Cty., Va., 844 F. Supp. 2d 724, 728 (W.D. Va. 2012) (it is “the exceptional

case in which a court allows a party to proceed anonymously” (collecting cases)). And “the litigant

seeking to proceed anonymously or under pseudonym . . . bears the burden to demonstrate a

legitimate basis for proceeding in that manner.” CTH 1 Caregiver, 2012 WL 2572044, at *3

(citing Qualls v. Rumsfeld, 228 F.R.D. 8, 13 (D.D.C.2005)).           To do so, the litigant must

demonstrate “exceptional circumstances,” showing that the “stated interest in anonymity”

outweighs “the public’s interest in openness and any prejudice that anonymity would pose to the

opposing party.” Pub. Citizen, 749 F.3d at273-74.

       In Jacobson, the Fourth Circuit identified at least five factors for courts to consider in

determining whether a litigant has demonstrated exceptional circumstances to proceed

anonymously: “[1] whether the justification asserted by the requesting party is merely to avoid

the annoyance and criticism that may attend any litigation or is to preserve privacy in a matter of

sensitive and highly personal nature; [2] whether identification poses a risk of retaliatory physical

or mental harm to the requesting party or even more critically, to innocent nonparties; [3] the ages

of the person whose privacy interests are sought to be protected; [4] whether the action is against

a governmental or private party; and, relatedly, [5] the risk of unfairness to the opposing party

from allowing an action against it to proceed anonymously.” 6 F.3d at 238. As set forth below,

these factors weigh against permitting the John Doe Plaintiffs to proceed anonymously here.




                                                 4
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 7 of 15 PageID# 923



    II.      THE JOHN DOE PLAINTIFFS HAVE NOT MET THEIR BURDEN OF
             DEMONSTRATING EXCEPTIONAL CIRCUMSTANCES JUSTIFYING
             THEIR USE OF PSEUDONYMS IN THIS CASE.

          Defendants acknowledge that, within the guidance of Jacobson, the Court has discretion

to grant the Plaintiffs’ motion. And the Government takes seriously any concern that a plaintiff

would be subject to any retaliatory physical or mental harm by participation in litigation. Using

the Jacobson factors, however, the evidence the John Doe Plaintiffs have submitted does not

establish the extraordinary circumstances required for a party to proceed anonymously.

          The first Jacobson factor—whether a sensitive and highly personal matter would be

implicated if the John Doe Plaintiffs were required to proceed under their true names—does not

weigh in favor of anonymity here. See Senior Executives Ass’n v. United States, No. 8:12-CV-

02297-AW, 2012 WL 6109108, at *2 (D. Md. Dec. 7, 2012) (recognizing “birth control, abortion,

homosexuality or the welfare rights of illegitimate children or abandoned families” as such

sensitive and highly personal matters). Plaintiffs argue that this case presents such a matter

because the John Doe Plaintiffs will be required to “disclose their religious beliefs,” which are of

a sensitive and highly personal nature, in the course of litigating this case. See Pls.’ Mot. 4-5. But

Plaintiffs have presented no reason to believe that this litigation will require them, including the

John Doe Plaintiffs, to disclose their private religious beliefs. Plaintiffs note that this lawsuit puts

at issue whether they have been placed on a watchlist based on their religious status and free

exercise of religion. Pls.’ Mot. 4-5. It is not apparent, however, why litigation of these claims

would require the John Doe Plaintiffs to disclose their private religious beliefs. The John Doe

Plaintiffs appear to contend simply that because their religion is an element of their claims, they

are entitled to anonymity. But they have not alleged that their religious affiliation is private or not

otherwise publically known, and the law does not support granting pseudonym status merely



                                                   5
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 8 of 15 PageID# 924



because a claim of religious discrimination arises. Many plaintiffs, including other plaintiffs in

this case, bring claims of religious discrimination without proceeding anonymously.

       For these reasons, Plaintiffs’ reliance on Doe v. Stegall, 653 F.2d 180 (5th Cir. 1981), and

Doe v. Pittsylvania Cty., Va., 844 F. Supp. 2d 724 (W.D. Va. 2012), is misplaced, as both cases

are readily distinguishable.     In both Stegall and Pittsylvania Cty., the plaintiffs brought

Establishment Clause claims, challenging prayer and other religious activities taking place in

public institutions. See Stegall, 653 F.2d at 186 (challenging prayer and Bible reading exercises

in Mississippi public schools); Pittsylvania Cty., 844 F. Supp. 2d at 727 (challenging a county

board’s practice of opening its meetings with Christian prayer). While both courts found that the

first Jacobson factor favored anonymity, they did so because the claims necessarily involved

“revelations about the[] [plaintiffs’] personal beliefs and practices,” putting their religious beliefs

“at the core of th[eir] suit to vindicate establishment clause rights.” Stegall, 653 F.2d at 186;

Pittsylvania Cty., Va., 844 F. Supp. 2d at 729 (“Religion lies at the heart of this case,” and

“prosecution of this case will require plaintiff to reveal her beliefs concerning the proper

interaction between government and religion, which concerns can implicate privacy matters

similar to those associated with actual religious teachings and beliefs.”). No such circumstances

appear to exist in this case. It is not apparent why adjudication of their claims, including their

Equal Protection claim, would involve delving into Plaintiffs’ particular religious beliefs at all. At

most, and as noted, adjudication of Plaintiffs’ claims would reveal only the John Doe Plaintiffs’

religious status. See Pls.’ Mot. 4 (alleging that Plaintiffs were “wrongful[ly] designat[ed] . . . on

the basis of their religious status as Muslims”). Plaintiffs have not even alleged that such

information is private, and in any event, it does not rise to the level of “personal information of the

utmost intimacy that warrants abandoning the presumption of openness of judicial proceedings.”

Merten, 219 F.R.D. at 392 (quoting S. Methodist Univ. Ass’n of Women Law Students v. Wynne &
                                                  6
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 9 of 15 PageID# 925



Jaffe, 599 F.2d 707, 713 (5th Cir. 1979)). As such, consideration of this factor counsels against

anonymity.

       With respect to the second Jacobson factor—whether identification of the John Doe

Plaintiffs “poses a risk of retaliatory physical or mental harm” to them or innocent third

parties, Jacobson, 6 F.3d at 238—the evidence Plaintiffs have presented does not satisfy this

factor. In their motion, Plaintiffs allege first that the “very publication of the stigmatizing label of

‘known or suspected terrorist’ is likely to translate to adverse consequences not only to these

Plaintiffs, but their family members.” Pls. Mot. at 5. Again, the Government takes seriously any

threat of retaliation against any plaintiff, or any third party, for participation in litigation, but

Plaintiffs have not presented any evidence that they would be subject to the type of retaliatory

physical or mental harm identified in Jacobson. And general concerns about harm to reputation

are not sufficient to proceed anonymously. Candidate No. 452207, 42 F. Supp. 3d at 809.

       The John Doe Plaintiffs and their family members contend they would face “adverse

actions taken by state and local law enforcement, financial institutions, car dealerships, employers,

and other private entities,” Pls.’ Mot. 5, if the John Doe Plaintiffs’ identities were revealed. But

the specific “adverse actions” Plaintiffs identify do not rise to the level of retaliatory physical or

mental harm. John Does 1 and 3 specifically allege that they have had their bank accounts closed

and have lost employment opportunities, see Pls.’ Mot. 5-6, suggesting that the John Doe Plaintiffs

and their families believe they would face similar actions in the future if their identities were

revealed in this litigation. But “the threat of economic harm does not merit anonymity.” Doe v.

New Ritz, Inc., No. CIV. WDQ-14-2367, 2015 WL 4389699, at *2 (D. Md. July 14, 2015) (citing

cases); see also Pub. Citizen, 749 F.3d at 274 (“[C]ourts consistently have rejected anonymity

requests to prevent speculative and unsubstantiated claims of harm to . . . reputational or economic

interests.”). Instead, the retaliation factor “requires a showing that identification poses a risk of
                                                   7
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 10 of 15 PageID# 926



 retaliatory physical or mental harm to the requesting party.” K-Beech, Inc. v. Does 1-29, 826 F.

 Supp. 2d 903, 905 (W.D.N.C. 2011) (emphasis added). 6

        Harms alleged by the other John Doe Plaintiffs also do not satisfy the second Jacobson

 factor. John Doe 4 alleges that the “public disclosure of the stigmatizing label of ‘known or

 suspected terrorist’ to his fiancé is likely to adversely impact their relationship.” Pls.’ Mot. 6.

 Again, such harm is not the kind of physical or mental retaliatory harm for which proceeding

 anonymously may be justified. Rather, the reputational harms alleged by John Doe 4 “are not

 sufficient to outweigh the public interest in the openness of this litigation.” Candidate No. 452207,

 42 F. Supp. 3d at 809; see also Pub. Citizen, 749 F.3d at 270 (“unsupported claim of reputational

 harm falls short of a compelling interest sufficient to overcome the strong First Amendment

 presumptive right of public access”).

        John Doe 4 also alleges that local law enforcement officials have already retaliated against

 him as a result of his inclusion on the federal terror watch list. Pls.’ Mot. 6. He specifically alleges

 that he was pulled over for traffic violations and that police officers purportedly “approached [his]

 vehicle with their hand on their gun read to shoot.” Am. Compl. ¶¶ 543, 545. Even assuming this

 resulted from his alleged watchlisting status, this allegation does not fall within the Jacobson

 standards. The potential for traffic stops is simply insufficient to proceed anonymously, and the

 fact that a police officer may have approached a vehicle ready to draw a weapon is not the kind of



 6
  Even if such economic harm could be sufficient to counsel in favor of anonymity, Plaintiffs’ bare
 allegations that bank accounts were closed and employment opportunities lost as a result of the
 Plaintiffs’ placement in the TSDB are not sufficient to establish a risk of retaliatory harm.
 Plaintiffs aver with no support that John Doe No. 3 “lost lucrative employment opportunities as a
 result of being designated as a ‘known or suspected terrorist,’” Pls.’ Mot. 6 (citing Am. Compl. ¶
 523), and Plaintiffs’ allegations that their bank accounts were closed due to their designations is
 unsupported and undermined by Plaintiffs’ admission that the banks provided no “notice or . . .
 explanation of the reasons why [the accounts] w[ere] being closed.” Pls.’ Mot. 6; see also id. at
 5.
                                                    8
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 11 of 15 PageID# 927



 physical retaliatory harm of concern under the Jacobson factors. 7 Further, while John Doe 4

 alleges he was detained in a holding cell overnight, he does not allege that his detention was due

 to his purported status in the TSDB. See Am. Compl. ¶¶ 546-47. As such, this allegation is facially

 insufficient to show that local law enforcement have retaliated against John Doe 4 based on his

 purported watchlist status, much less that he is at risk of being retaliated against in the future if he

 proceeds under his true name in this case. 8

        The fourth Jacobson factor also weighs against anonymity in the circumstances of this case

 where Plaintiffs are suing the Government. As a general matter, the Fourth Circuit has recognized

 that “the public interest in . . . litigation is especially compelling” where the plaintiff “sue[s] a

 federal agency.” Pub. Citizen, 749 F.3d at 274 (citing, inter alia, Femedeer v. Haun, 227 F.3d

 1244, 1246 (10th Cir.2000) (noting that “the public has an important interest in access to legal

 proceedings, particularly those attacking . . . properly enacted legislation”)). 9 And while in some

 settings a court may be more likely to allow a plaintiff to proceed anonymously in a suit against


 7
   Indeed, the claim that one may, in the future, be subjected to negative encounters with law
 enforcement is insufficient to support any claim for equitable relief. City of Los Angeles v. Lyons,
 461 U.S. 95, 111 (1983).
 8
   The third Jacobson factor does not appear to apply to the John Doe Plaintiffs. While “[c]ourts
 are often more willing to allow parties to proceed anonymously in order to protect the privacy
 rights of children,” Doe v. N. Carolina Cent. Univ., No. 98-01095, 1999 WL 1939248, at *4
 (M.D.N.C. Apr. 15, 1999), Plaintiffs have not alleged that any of the John Doe Plaintiffs are
 minors, and Defendants do not oppose allowing Baby Doe 2 to proceed under a pseudonym,
 provided, as noted above, that appropriate disclosures are made to Defendants under protective
 order should this case proceed past the preliminary stage.
 9
   As explained in Defendants’ Memorandum, see Defs.’ Mem. at 5-6, Congress directed TSA to
 establish procedures for notifying appropriate officials “of the identity of individuals” who are
 “known to pose, or suspected of posing, a risk of air piracy or terrorism or a threat to airline or
 passenger safety.” 49 U.S.C. § 114(h)(2). This mandate requires TSA, “in consultation with other
 appropriate Federal agencies and air carriers,” id. § 114(h)(3), “to use information from
 government agencies to identify [travelers] who may be a threat to civil aviation or national
 security,” id. § 114(h)(3)(A), and to “prevent [those] individual[s] from boarding an aircraft, or
 take other appropriate action with respect to that individual,” id. § 114(h)(3)(B). See also id. §
 114(h)(1).
                                                    9
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 12 of 15 PageID# 928



 the Government than against a private party, see Pls.’ Mot. 6 (citing Candidate No. 452207, 42 F.

 Supp. at 810), it does not follow that the fourth Jacobson factor weighs in favor of anonymity

 every time a plaintiff sues the Government. See Merten, 219 F.R.D. at 394 (granting the fourth

 “factor dispositive effect would lead, inappropriately, to granting anonymity to any plaintiff suing

 the government to challenge a law or regulation”); see also CTH 1 Caregiver, 2012 WL 2572044,

 at *4 (“The simple fact that plaintiff sues a governmental entity does not give the court more reason

 to grant her request for anonymity.” (quoting Pittsylvania Cty., 2012 WL 370023 at *4)). Indeed,

 “very rarely is anonymity justified in a case challenging the government.” Ashbourne v. Geithner,

 No. CIV.A. RWT-11-2818, 2012 WL 2874012, at *1 (D. Md. July 12, 2012), aff’d, 491 F. App’x

 429 (4th Cir. 2012). Accordingly, the presence of government defendants cannot sustain the John

 Doe Plaintiffs’ request to proceed anonymously here.

        Finally, the John Doe Plaintiffs’ proposal for dealing with the fifth Jacobson factor—

 unfairness to the opposing party—by filing an Amended Complaint with the identity of the Doe

 Plaintiffs under seal, is not sufficient to permit them to proceed anonymously. As Plaintiffs appear

 to recognize, see Pls.’ Mot. 7-8, Defendants must know the identity of the Doe Plaintiffs in order

 to litigate this case, including, for example, to challenge their standing. And should this litigation

 proceed in spite of the numerous threshold deficiencies in Plaintiffs’ Amended Complaint, see

 Defs.’ Mem. 20-51, Defendants likely would be hampered in their ability to explore and challenge

 the John Doe Plaintiffs’ claims if they are permitted to proceed anonymously. As such, this factor

 likewise counsels against permitting anonymity. See Merten, 219 F.R.D. at 394 (fifth factor

 weighed against allowing the plaintiffs to proceed anonymously because the issue of standing

 depended upon the plaintiffs’ identities). Even if these burdens could be overcome through sealed

 filings, such a proposal is “not a sound basis for resolving the anonymity question” where the

 “other factors weigh significantly against anonymity for plaintiffs.” Merten, 219 F.R.D. at 395.
                                                  10
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 13 of 15 PageID# 929



 In short, where the other four Jacobson factors weigh heavily against anonymity, the possibility

 of disclosing to Defendants under seal the John Doe Plaintiffs’ identities does not outweigh the

 public’s significant constitutional interest in open proceedings.

                                          CONCLUSION

        For all of the foregoing reasons, the Court should deny Plaintiffs’ motion to permit the

 John Doe Plaintiffs to proceed in this litigation using pseudonyms and order Plaintiffs either to

 amend their complaint by disclosing the real names of the John Doe Plaintiffs, as required by the

 Federal Rules of Civil Procedure, or dismiss them from this suit.



 Dated: December 16, 2016                      Respectfully submitted,

                                               BENJAMIN C. MIZER
                                               PRINCIPAL DEPUTY ASSISTANT ATTORNEY
                                               GENERAL
                                               CIVIL DIVISION

                                               DANA BOENTE
                                               UNITED STATES ATTORNEY

                                               ANTHONY J. COPPOLINO
                                               DEPUTY BRANCH DIRECTOR
                                               FEDERAL PROGRAMS BRANCH

                                               AMY POWELL
                                               EMILY NEWTON
                                               TRIAL ATTORNEYS
                                               U.S. DEPARTMENT OF JUSTICE
                                               CIVIL DIVISION, FEDERAL PROGRAMS
                                               BRANCH
                                               20 MASSACHUSETTS AVENUE, N.W.
                                               WASHINGTON, D.C. 20001
                                               TELEPHONE: (202) 514-9836
                                               FAX:          (202) 616-8460
                                               E-MAIL:        amy.powell@usdoj.gov

                                               _/S/______________________________
                                               R. JOSEPH SHER
                                               ASSISTANT UNITED STATES ATTORNEY
                                                  11
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 14 of 15 PageID# 930



                                    OFFICE OF THE UNITED STATES ATTORNEY
                                    JUSTIN W. WILLIAMS UNITED STATES
                                    ATTORNEYS BUILDING
                                    2100 JAMIESON AVE.,
                                    ALEXANDRIA, VA. 22314
                                    TELEPHONE: (703) 299-3747
                                    FAX:          (703) 299-3983
                                    E-MAIL        JOE.SHER@USDOJ.GOV

                                    COUNSEL FOR DEFENDANTS




                                      12
Case 1:16-cv-00375-AJT-JFA Document 38 Filed 12/16/16 Page 15 of 15 PageID# 931




                                 CERTIFICATE OF SERVICE

        I certify that on December 16, 2016, I electronically filed the foregoing with the Clerk of

 Court using the CM/ECF system, which sent a notification of such filing (NEF) to the following

 counsel of record:

 Gadeir Abbas
 The Law Office of Gadeir Abbas
 1155 F Street NW, Suite 1050
 Washington, D.C. 20004
 Telephone: (720) 251-0425
 Fax: (720) 251-0425
 Email: gadeir.abbas@gmail.com


                                      /s/ R. Joseph Sher
                                      R. JOSEPH SHER
                                      Assistant United States Attorney
                                      Office of the United States Attorney
                                      2100 Jamieson Ave.,
                                      Alexandria, VA. 22314
                                      Telephone: (703) 299-3747
                                      Fax:           (703) 299-3983
                                      E-Mail joe.sher@usdoj.gov




                                                13
